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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

MARICE S. NALLS (#423240)
                                                               CIVIL ACTION
VERSUS
                                                               NO. 14-734-JWD-RLB
N. BURL CAIN, WARDEN

                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report dated July 7, 2020 (Doc. 37), to which an objection

was filed (Doc. 39);

       IT IS ORDERED that the petitioner’s Motion for Stay and Abeyance (R. Doc. 34) is

denied as moot.

       Signed in Baton Rouge, Louisiana, on August 3, 2020.


                                                 S
                                     JUDGE JOHN W. deGRAVELLES
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
